                                             Case 5:19-cr-00181-EJD Document 79 Filed 12/03/21 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8        UNITED STATES OF AMERICA,                       Case No. 19-cr-00181-EJD-1 (VKD)
                                                        Plaintiff,
                                   9
                                                                                            ORDER REVOKING BAIL AND
                                                  v.                                        ORDERING DETENTION
                                  10

                                  11        HECTOR JESUS DAVILA-CHAVEZ,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14           The United States moves for a revocation of bail and remand to custody for defendant Jose

                                  15   Hector Jesus Davila-Chavez. At the hearing on the matter on December 3, 2021, Mr. Davila-

                                  16   Chavez does not contest the relief the government seeks, and he has waived written findings.

                                  17           For the reasons stated on the record during the hearing, the Court concludes that there are

                                  18   no conditions or combination of conditions of release that would reasonably assure Mr. Davila-

                                  19   Chavez’s appearance and the safety of others and the community. Accordingly, the Court orders

                                  20   his bail revoked, and further orders that he be detained pending further proceedings in this case.

                                  21           Mr. Davila-Chavez is committed to the custody of the Attorney General or his designated

                                  22   representative for confinement in a corrections facility separate, to the extent practicable, from

                                  23   persons awaiting or serving sentences or being held in custody pending appeal. Mr. Davila-

                                  24   Chavez shall be afforded a reasonable opportunity for private consultation with defense counsel.

                                  25   On order of a court of the United States or on the request of an attorney for the United States, the

                                  26   person in charge of the corrections facility shall deliver Mr. Davila-Chavez to the United States

                                  27   Marshal for the purpose of appearances in connection with court proceedings.

                                  28   //
                                          Case 5:19-cr-00181-EJD Document 79 Filed 12/03/21 Page 2 of 2




                                   1         IT IS SO ORDERED.

                                   2   Dated: December 3, 2021

                                   3

                                   4
                                                                                      VIRGINIA K. DEMARCHI
                                   5                                                  United States Magistrate Judge
                                   6

                                   7

                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                             2
